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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


   Civil Action No. 13-CV-1300-MSK-MJW

   54 SHERIFFS, et al.,

          Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

          Defendant.

                                   ENTRY OF APPEARANCE

          Undersigned counsel hereby enters his appearance on behalf of Plaintiffs Dylan Harrell,

   David Bayne, Outdoor Buddies, Inc., The Colorado Outfitters Association, Colorado Farm

   Bureau, and Women for Concealed Carry.

          Dated this 23d day of May, 2013.

                                              Respectfully submitted,

                                              HALE WESTFALL, LLP

                                              s/Peter J. Krumholz ___________________________
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on May 23, 2013, I served a true and complete copy of the foregoing
   Entry of Appearance upon the following counsel of record via the CM/ECF system for the
   United States District Court for the District of Colorado:

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